Case: 4:16-cv-01631-RWS   Doc. #: 213-20 Filed: 11/23/21   Page: 1 of 3 PageID
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                 EXHIBIT T
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Document title:               JOIN EAGLE FORUM

Capture URL:                  http://www.eagleforum.org/order/index.html#renew

Captured site IP:             104.25.110.28

Page loaded at (UTC):         Thu, 12 May 2016 20:46:51 GMT

Capture timestamp (UTC):      Thu, 12 May 2016 20:47:04 GMT

Capture tool:                 v4.0.2

Page Vault server IP:         54.174.78.137

Browser engine:               Chrome/49.0.2623.28

Operating system:             Microsoft Windows NT 6.2.9200.0 (6.2.9200.0)

PDF length:                   2

Portal URL:                   https://portal.page-vault.com/#/snapshot/80638

User:                         sf-judy




                                                                               EXHIBIT T
                  Case: 4:16-cv-01631-RWS                       Doc. #: 213-20 Filed: 11/23/21   Page: 3 of 3 PageID
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